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                                          LOAN AGREEMENT


                                                                               September 27
        THIS LOAN AGREEMENT (“Agreement”) is dated effective as of __________________,          2017,
by and between SSDF5 Portfolio 1 LLC, an Illinois limited liability company, whose address is 180 N.
Stetson, Suite 3500, Chicago, Illinois 60601 (“Borrower”), and BC57, LLC, a Michigan limited liability
company, whose address is 280 North Old Woodward Avenue, Suite 104, Birmingham, Michigan 48009
(“Lender”). The Lender agrees to make, and the Borrower agrees to repay the loan described below (the
“Loan”), in accordance with the terms and conditions set forth in this Agreement.

         1.     LOAN(S) AND COLLATERAL.

                 a.     Loan. The Lender will make available to the Borrower, and the Borrower shall
borrow from the Lender, the sum of Five Million Three Hundred Twenty-Eight Thousand Four
Hundred Thirty-Three and 43/100 ($5,328,433.43) Dollars, to be evidenced by a Promissory Note dated
of even date herewith, as it may be amended and/or restated from time to time (collectively, the “Note”),
which Loan shall be payable in accordance with the terms stated in the Note, a copy of which is attached
hereto as Exhibit “A.”

                b.       Payments. The Loan shall be repaid in accordance with the terms and provisions
of the Note.

                 c.      Use of Loan Proceeds. The proceeds of the Loan will be used by Borrower to
(i) refinance existing debt secured by multiple apartment complexes consisting of a total of 166 units on
real properties commonly known as 7625-7633 S. East End Ave. as described as parcel 2 on Exhibit “B”
attached hereto (“Parcel 2”), 7635-7643 S. East End Ave. as described as parcel 3 on Exhibit “B” attached
hereto (“Parcel 3”), 7750-7752 S. Muskegon Avenue as described as parcel 4 on Exhibit “B” attached
hereto (“Parcel 4”), 7201 S. Constance Avenue as described as parcel 1 on Exhibit “B” attached hereto
(“Parcel 1”), and 7836 S. Shore Drive as described as parcel 5 on Exhibit “B” attached hereto (“Parcel
5”), all located in Chicago, Illinois 60649, as more particularly described on Exhibit “B” attached hereto
(Parcel 1, Parcel 2, Parcel 3, Parcel 4, and Parcel 5 shall collectively be referred to as “Properties” and
individually as “Property”), and (ii) to pay a portion of delinquent taxes due and owing on the Properties. As
set forth in the Settlement Statement dated on even date herewith as executed by Lender and Borrower,
points due Lender and charges due various other parties shall be deducted from the Loan proceeds
payable to Borrower or payable at Borrower’s direction on closing.

                d.       Collateral.

                         (i)      As security for the performance of Borrower’s obligations in connection
with the Loan, whether under this Agreement, the Note, or otherwise, Borrower has granted to the Lender
certain collateral security, including, but not limited to, the following (the “Collateral”): (1) a first
mortgage from Borrower against the Properties (the “Mortgage”); (2) a first assignment of leases and
rents from Borrower against the Properties (the “Assignment”) (3) a first security interest on all personal
property of Borrower used in connection with the operation of the Properties (“Security Agreement,”
which may be included within the Mortgage); (4) a general assignment of rights regarding the Properties
relating to contracts, permits, etc. (the “Contracts Assignment”); (5) Collateral Assignment of
Membership Interest of even date from SSDF5 Holdco 1 LLC, a Delaware limited liability company
(“Sole Member”) as to all of the membership interests in Borrower and a Collateral Assignment of
Membership Interest of even date from SSPH (defined below) as to all Class A membership interests in
the Sole Member (“Membership Pledge(s)”); (6) financing statements necessary to perfect the foregoing
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security interests; (7) the Guaranty (as such term is hereinafter defined); and (8) such further and other
documentation as Lender shall require (“Other Documentation”).

                          (ii)    Cross-Collateralization/Cross-Default.         This Loan and all other
obligations owed to Lender by the Borrower and/or 4611-17 S Drexel LLC, an Illinois limited liability
company (or any of their principals or affiliates) or Guarantor(s) (hereinafter defined) or any one of them,
are cross-collateralized, and, also, secured by any mortgage, security agreement, pledge, assignment, or
other agreement issued from time to time for the benefit of the Lender by the Borrower and/or 4611-17 S
Drexel LLC, an Illinois limited liability company (or any of their principals or affiliates), or the Guarantor(s)
or any one of them, and all such loans shall be cross-defaulted.

                        (iii)   Guaranty. The Loan will be guaranteed jointly and severally, by
Jerome H. Cohen, Sole Member and South Shore Property Holdings I LLC, a Delaware limited liability
company (“SSPH”) (each, a “Guarantor”, collectively, the “Guarantors”), pursuant to the terms of that
certain Guaranty executed of even date herewith.

                e.       Borrowing Procedure. The Loan shall be fully funded simultaneously with the
execution hereof and interest shall accrue on the full amount of the Loan as provided in the Note

                 f.       Release Provisions. Provided no Event of Default has occurred and is
continuing, Lender shall release its security interest in a Property (each referred to hereinafter in this
subsection as a “Release Parcel”) within seven (7) days following the satisfaction of the following
conditions with respect to each Release Parcel (aa) Lender has received the applicable Release Price
(hereinafter defined) plus any prepayment premium, exit fee and repayment fee then due under the Note
or any other Loan Documents, and (bb) the Borrower has provided Lender written notice of the date of
the proposed sale or refinancing of the Release Parcel by Borrower, as the case may be, and (cc)
Borrower shall be liable for all expenses incurred by Lender in connection with releasing its lien in the
Release Parcel, including, without limitation, Lender’s attorney’s fees. The term "Release Price" shall
mean as follows: (i) with respect to Parcel 4, a sum of $1,938,750.00; (ii) with respect to Parcel 5 a sum
of $1,196,250.00; (iii) with respect to Parcel 2 and Parcel 3, the aggregate sum of $2,103,750.00; and (iv)
with respect to Parcel 1, the sum of $1,608,750.00. Parcel 2 and Parcel 3 shall not be released separately.



        2.      REPRESENTATIONS AND WARRANTIES.                         Borrower and each Guarantor
represents and warrants to the Lender, as long as the Loan remains outstanding, as follows:

                 a.     Existence and Authority. Borrower is validly existing and duly organized in
the State of Illinois. Sole Member and SSPH are validly existing and duly organized in the State of
Delaware. The person or persons executing this Agreement on behalf of the Borrower and each
Guarantor have full power and complete authority to execute this Agreement and all related documents
and, when executed, this Agreement and all related documents will be legal, valid and binding obligations
of the Borrower and each Guarantor, enforceable in accordance with their terms. Currently the sole
member of Borrower is the Sole Member. SSPH is a Class A member and manager of the Sole Member.

                 b.       Business Location. The chief executive office of the Borrower is located at the
address set forth in the preamble of this Agreement.

                 c.      No Litigation. Except as set forth on Schedule 2.c. attached hereto (“Disclosed
Matters”), there are no pending or threatened suits or proceedings before any court, governmental agency,
regulatory body, or administrative tribunal to which Borrower or any Guarantor is/are a party or by which
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any of their property (including, but not limited to the Property) may be affected and which may result in
any material change in the financial condition of Borrower, any Guarantor or the Collateral.

                  d.      Financial Condition. All financial information of Borrower and any Guarantor
delivered to Lender as of the date hereof is correct and complete and accurately presents the financial
condition of Borrower or Guarantor on the dates thereof. There has been no material adverse change in
the business, property or condition of the Borrower or any Guarantor since the date of the most recent
financial information delivered to Lender, and neither the Borrower nor any Guarantor is in default under
any indebtedness or material obligation. The Borrower is solvent, able to pay its debts as they mature,
has capital sufficient to carry on its business and has assets the fair market value of which exceeds its
liabilities, and the Borrower will not be rendered insolvent, undercapitalized or unable to pay maturing
debts by the execution or performance of this Agreement or any related documents or agreements. Each
Guarantor is solvent, able to pay debts as they mature, has capital sufficient to carry on business and has
assets the fair market value of which exceeds his or its liabilities, and no Guarantor will be rendered
insolvent, undercapitalized or unable to pay maturing debts by the execution or performance of this
Agreement, the Guaranty or any related documents or agreements.

                e.      Title and Survey. Borrower has good and marketable title to the Properties free
from all liens and encumbrances, except for such encumbrances as are set forth in the marked up
commitment or pro forma for a mortgagee’s policy of title insurance delivered to Lender concurrent with the
execution hereof (“Permitted Encumbrances”).

                 f.       Utilities. The Properties have adequate rights of access to public utilities and/or
private water, sanitary sewer and storm drain facilities. All utilities necessary or convenient to the full use
and enjoyment of the Properties are available at the boundaries of the Properties.

                 g.      Roads. The Properties have adequate rights of access to public ways.

                 h.       Contracts. The Service Contracts (as defined below) disclosed on Schedule 2.h.
attached hereto are for the management and/or operation of the Properties and are in full force and effect,
and there is no default thereunder by any party thereto and no event has occurred that, with the passage of
time and/or giving of notice, would constitute a default thereunder.

                 i.      Taxes. Borrower has, and each Guarantor has, filed all federal, state and local
income and other tax returns and other reports required to be filed prior to the date of this Agreement and
Borrower has, and each Guarantor has, paid all taxes, withholdings, assessments and other governmental
charges that are due and payable prior to the date of this Agreement.

                 j.       Governmental and Non-Governmental Requirements. Borrower has obtained
all licenses, permits, authorizations, consents or approvals from each governmental authority and has
obtained all licenses, authorizations, consents, approvals or franchises from each non-governmental entity
necessary for the operation of Borrower’s business and all such licenses, permits, authorizations, consents
or approvals are in full force and effect. The use of the Properties for an apartment complex purpose
complies with all applicable zoning ordinances, housing codes, rules, regulations and restrictive
covenants affecting the Properties.

                 k.      Compliance with Law and Permitted Encumbrances. Borrower has complied
with its applicable Permitted Encumbrances, applicable laws, rules, regulations and orders relating to it or
any aspect of its business or assets, including, without limitation, all environmental laws, rules,
regulations and orders. Borrower agrees to indemnify and hold the Lender harmless from any and all
violations by such entity of any laws, rules, regulations and/or orders.
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                l.      Title. Borrower has good and marketable title to all property (tangible and
intangible) necessary for the proper and efficient operations of Borrower’s business, free from all liens
and encumbrances, except those described in writing, and acceptable to Lender.

                m.       Business Loan. Borrower covenants and agrees that (i) all of the proceeds of the
Loan secured by the Note, the Mortgage and the other Loan Documents (hereinafter defined) will be used
solely for business purposes and in furtherance of the regular business affairs of such Borrower, (ii)
Borrower is a “business,” as that term is defined in the Illinois Interest Act, Illinois Complied Statutes,
Chapter 815 ILCS 205/0.01, et seq., including Section 4(1)(c) thereof; and (iii) the entire principal
obligation secured hereby constitutes: (A) a “business loan,” as that term is used in Section 205/4(1)(c)
thereof; and (B) a “loan secured by a mortgage on real estate” within the purview and operation of
Section 205/4(1)(l) thereof, and (iv) the indebtedness secured hereby is an exempted transaction under the
Truth-In-Lending Act, 15 U.S.C. Section 1601m, et seq. and has been entered into solely for business
purposes of Borrower and for such Borrower’s investment or profit, as contemplated by said section.

               n.      Survival. All warranties and representations of the Borrower contained in this
Agreement shall survive the execution of this Agreement and any advances of loan proceeds made in
accordance with this Agreement.

         3.     CONDITIONS TO LOAN. The obligation of the Lender to make the Loan is subject to
the following conditions:

                a.      Loan Documents. The Lender shall have received and recorded or filed (as
appropriate) executed copies of all documents required by Lender which evidence, secure or govern the
Loan, including, without limitation, this Agreement, the Note, the Mortgage, the Assignment, the
Guaranty, the Contracts Assignment, the Membership Pledges, the Other Documentation and such other
documents as may be deemed necessary by Lender, as amended and/or restated from time to time (each a
“Loan Document” and collectively, “Loan Documents”).

                  b.      Term Sheet. The Lender shall have determined that all conditions set forth in that
certain term sheet dated August 22, 2017, from Lender addressed to and accepted by Borrower (the “Term
Sheet”) have been satisfied (including, without limitation, payment of all required fees and expenses), or if
not satisfied, have been waived by Lender.

                c.     Title Insurance. The Lender shall have received a commitment to issue a title
insurance policy in ALTA form acceptable to Lender, without standard exceptions, shall have been issued
and marked up in the amount of the Loan, insuring the Mortgage as valid first lien on the Properties, subject
only to the Permitted Encumbrances, providing affirmative coverage against construction liens, and
accompanied by such endorsements as the Lender may in its sole and absolute discretion require.

                d.      Search Reports. The Lender shall have received Uniform Commercial Code, tax
lien and judgment and litigation search reports disclosing no adverse information against the Borrower and
each Guarantor other than the Disclosed Matters.

                  e.      Environmental Assessment. The Lender shall have received and approved an
Environmental Phase I Site Assessment of the Properties prepared by an environmental engineer
satisfactory to Lender stating that the Properties, as applicable, are free of any environmental condition
unacceptable to Lender, and evidencing the condition of the Properties and their compliance with applicable
law, all to the Lender’s satisfaction.


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                  f.     A.L.T.A. Survey. The Lender shall have received a current A.L.T.A. survey of
the Properties prepared by a registered land surveyor, certified to and satisfactory to Lender and the title
insurance company. Alternatively, existing surveys shall be acceptable with a survey affidavit of no change
subject to the requirements set forth in subsection 3.c. above.

                 g.       Compliance. Lender shall have obtained satisfactory evidence to the effect that
the improvements located on the Properties are in compliance with the Permitted Encumbrances and
applicable zoning ordinances, housing codes, building codes, ordinances, rules and the like, including all
applicable parking requirements and setback provisions. Additionally, the Lender shall have received a
copy of the Certificate of Occupancy issued for the Properties, together with copies of all permits and
licenses required by the governing authorities for the operation thereof.

                 h.      Pre-Closing Inspection. If requested by Lender, the Lender shall have completed
a pre-closing inspection of the Properties satisfactory to Lender and its counsel.

                 i.       Organizational Documents. If requested by Lender, the Lender shall have
received certified copies of the organizational documents of the Borrower, SSPH, and the Sole Member and
other constituent members, including resolutions authorizing the Loan and granting Collateral.

                 j.      Utilities and Access. If requested by Lender, the Lender shall have received
satisfactory evidence that all utility services are all available to the Properties and that the Properties have
adequate rights of access to public ways.

               k.     Other Documents and Deliveries. If requested by Lender, the Lender shall
have received such other documents, information, instruments and certificates as the Lender deems
necessary.

                 l.      Payment of Taxes. If requested by Lender, the Lender shall have received
satisfactory evidence that all taxes and assessments due on the Properties have been paid.

               m.        Fees. All points and other amounts due and owing to Lender delineated in the
Term Sheet shall either have been paid or will be paid concurrent with closing of the Loan.

               n.      Representations and Warranties. All representations and warranties of the
Borrower and the Guarantor(s) contained in this Agreement and the other Loan Documents shall be true and
correct.

       4.      AFFIRMATIVE COVENANTS. The Borrower covenants and agrees that, as long as
the Loan remains outstanding, the Borrower shall comply with the following affirmative covenants:

                 a.       Contracts. Upon request of Lender, Borrower shall deliver to the Lender executed
copies of all contracts related to the Properties, whether such contracts are executed before or after the date
of this Agreement, and enforce the duties and obligations of the parties thereunder. However, Borrower
shall not enter into any contract or lease for the management or operation or service at the Properties (a
“Service Contract”) in excess of $10,000.00 per year without prior written consent from Lender and all
Service Contracts must contain provisions allowing termination upon 30 days’ prior written notice.

                b.      Notice of Adverse Events. The Borrower shall (or shall cause the Guarantor(s)
to notify Lender in the event of the occurrence of any event set forth in Section 6) promptly notify the
Lender in writing of any Event of Default or institution of any litigation, administrative proceeding or lien
filed by governmental authorities (or any other party) or other proceeding or occurrence which may have
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a material adverse effect on the business, property or financial condition of the Borrower, including, but
not limited to any failure of Borrower to pay when due any indebtedness (other than to Lender) or in the
observance or performance of any term, covenant or condition in any document evidencing, securing or
relating to such indebtedness.

                  c.     Existence and Identity. Borrower, Sole Member and SSPH shall continue each
of its respective business as presently conducted. Borrower, Sole Member and SSPH shall neither
change the legal format under which it is organized nor sell any material portion of its property or merge
its business, in whole or in part, without the prior written consent of the Lender. Borrower, Sole Member
and SSPH shall give the Lender prompt written notice of any change in location of its chief executive
office or any other place of business. Subject to Section 5.e. hereinafter, Borrower shall not amend its
operating agreement without the consent of Lender.

                d.       Books and Reports. Borrower shall maintain a proper accounting system, and
furnish the reports specified below to Lender, in form and detail satisfactory to the Lender (such reports
of the Borrower shall be certified by an authorized individual on behalf of the Borrower and such reports
of each Guarantor shall be certified by such Guarantor):

                        (i)      A rent roll of the Properties delineating, among other things, rental
delinquencies and receivables, certified by the Borrower dated as of the end of each calendar month,
which shall be due no later than the fifteenth (15th) day of each succeeding month.

                        (ii)     Annual compiled financial statements, prepared by an independent
certified public accountant acceptable to Lender, dated as of December 31st and which will be due not
later than February 28 of the following year, which financial statements shall include a balance sheet and
statement of income and expenses.

                         (iii)   Financial statements and cash flow statements of each Guarantor in form,
substance and detail acceptable to Lender to be delivered within thirty (30) days of the end of each
calendar year, together with such other information from time to time requested by Lender.

                          (iv)     Copy of the annual Federal Tax Return of the Borrower and each
Guarantor, together with all exhibits and schedules thereto, which shall be due no later than fifteen (15)
days of the date filed, but in any event no later than November 1 of each year.

                          (v)      Quarterly statement of income and expenses for the Borrower which
shall be due no later than fifteen (15) days after the end of each calendar quarter.

                          (vi)     Monthly statement of income and expenses, bank statements, check
register, leasing activity report, and aged payables for the Borrower which shall be due no later than the
fifteenth (15th) day of each succeeding month.

                       (vii)    Annual financial projections (balance sheet, income statement, cash flow
statements by month) for the Borrower due thirty (30) days prior to January 1st of each calendar year.

                        (viii) Real estate tax bills and assessments on the Properties must be furnished
to Lender no later than ten (10) days following receipt of same by Borrower, and Borrower shall also
furnish to Lender proof of payment of such tax bills and assessments no later than ten (10) calendar days
following Lender’s request.


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All financial reporting shall be on an accrual basis. The Lender’s failure to request the financial
information set forth hereinabove shall not be a waiver of the Lender’s future right to enforce the terms of
this Section 4.d.

                 e.      Applicable Law. The Borrower shall operate the Properties in accordance with
applicable ordinances, rules and regulations and requirements of all governmental authorities having
jurisdiction over the Properties including, without limitation, the Americans with Disabilities Act of 1990.
Additionally, during the term of the Loan, Borrower shall implement Operations and Maintenance (O&M)
Program for the Properties with respect to asbestos containing materials and potential lead based paint.

                f.       Maintain Property. Borrower shall maintain, preserve and keep the Properties,
and each and every part and parcel thereof, in good repair and working order, and in safe condition at all
times and in accordance with the Permitted Encumbrances and applicable ordinances, rules and regulations,
and requirements of all governmental authorities having jurisdiction over the Properties.

                g.       Inspection. Borrower shall permit the Lender and its agents free access to the
Properties and make available for audit, inspection and/or copying all property, equipment, books, contracts,
records and other papers of Borrower relating to the Properties.

                 h.      Management of Property. No manager of the Properties shall receive a fee in
excess of five percent (5%) of the effective gross revenue of the Properties. Any manager of the
Properties will be required to enter into a collateral assignment and subordination of its management
agreement in form satisfactory to Lender, assigning and subordinating the manager’s interest in the
applicable Property and all fees and other rights of the manager pursuant to such management agreement
to the rights of Lender. No changes shall be made to such manager without the Lender’s prior consent.
Upon an Event of Default, the Borrower, at Lender’s request, made at time after such Event of Default,
shall terminate any management agreement and replace any manager with a manager approved by
Lender.

                 i.      Insurance. The Borrower shall provide Lender with the following with respect
to the Collateral:

                          (i)     Evidence of a commercial property insurance policy written on an all-
risk or special perils form covering the Properties. The policy must be in the amount of the Loan or the
full replacement cost of the improvements, whichever is greater, but in no event less than one hundred
percent (100%) of the insurable value. Each policy shall be valued at replacement cost with either an
agreed amount clause (to avoid the operation of any co-insurance provisions) or a waiver of any co-
insurance provisions, all subject to Lender’s approval. The maximum deductible shall be $10,000.00.
The insured premises must be described by the street address of such Properties. The hazard insurance
policy must contain replacement cost, inflation-guard, vandalism and malicious mischief endorsements.
The property policy shall include rent loss or business interruption insurance in an amount to cover at
least a twelve (12) month period on an actual loss sustained basis. If any Property is or becomes a legal
“non-conforming” use, ordinance or law coverage and insurance coverage to compensate for the cost of
demolition rebuilding of the undamaged portion of such Property along with any reduced value and the
increased cost of construction in amounts as requested by Lender.

                           (ii)     Evidence of commercial general liability insurance on an occurrence
basis with initial limits of at least $1,000,000 per occurrence for bodily injury and property damage.



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                          (iii)  Evidence of follow-form umbrella or excess liability insurance with
limits of no less than $4,000,000.00 sitting over the commercial general liability policy and, if applicable,
the employers’ liability and commercial automobile liability policies.

                          (iv)    Prior to commencement of the construction of any improvements or
structural repair or alterations to any portion of the Properties, evidence of a (A) builder’s risk policy
and/or all-risk commercial property insurance policy providing protection on a non-reporting, completed-
value form for such Property during the course of construction for the amount of the Loan, or the full
replacement cost of the improvements, whichever is greater, but in no event less than one hundred percent
(100%) of the insurable value against all risks insured against pursuant to subsection (i) above, including
permission to occupy the applicable Property, and with an agreed amount endorsement waiving co
insurance provisions; and (B) owner’s contingent or protective liability insurance covering claims not
covered by or under the terms or provisions of the above mentioned commercial general liability
insurance policy. The insured premises must be described by the street address of such Property.

                       (v)     If any part of the Properties is now or hereafter designated by the Federal
Emergency Management Agency as being located in flood zone A, V or other critical high-hazard floor
zone, evidence of flood insurance in such amount equal to the maximum available under the National
Flood Insurance Program or other such amount as required by Lender and establish a non-interest bearing
escrow account with Lender for payment of the flood insurance premiums.

                         (vi)    Intentionally omitted.

                        (vii)    Workers’ compensation insurance with respect to any employees of a
Borrower, as required by law.

                          (viii) If requested by Lender, coastal windstorm insurance in amounts and in
form and substance satisfactory to Lender in the event any Property is located in any coastal region,
provided that such shall be on terms consistent with the commercial property insurance policy required
under this subsection (i).

                         (ix)     All insurance policies (each, a “Policy” and collectively, the “Policies”)
shall be in such amounts, upon such terms and in such form as shall be acceptable to the Lender, and shall
be carried with insurers acceptable to the Lender. The Lender’s failure to request copies of such coverage
or failure to approve such shall not be a waiver of the Lender’s future right to enforce the terms of this
Section 4.i. All insurance policies, or certified copies thereof, shall be furnished to the Lender with proof
of payment in full so that the policies are in full force and effect for not less than one (1) year. All
policies of insurance must contain appropriate clauses that any loss otherwise payable under such policies
will be payable notwithstanding any act or negligence of the Lender or any entity comprising the
Borrower. Where the Lender can be insured as a mortgagee or loss payee (with a lender’s loss payable
endorsement) because of its security interest, such endorsement shall be attached to the policies. Lender
shall be named as an additional insured, as its interests may appear, on Borrower’s liabilities policies. All
policies shall require at least thirty (30) days prior written notice to the Lender of cancellation, non-
renewal or material modification. Without limitation to the foregoing, all Policies shall be subject to the
approval of Lender as to insurance companies, amounts, deductibles, loss payees and insureds. The
Policies shall be issued by financially sound, responsible and recognized insurance companies authorized
to do business where the Property is located and having a claims paying ability rating of at least A and a
numerical rating of at least X, as rated by AM BEST or its successor. Not less than ten (10) days prior to
the expiration dates of the Policies furnished to Lender, and in connection with the closing of the Loan,
original ACORD certificates of insurance evidencing the Policies, accompanied by evidence satisfactory
to Lender of payment of the premiums due thereunder for at least one (1) full year, shall be delivered by
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the Borrower to Lender. The Borrower may be required to provide the Lender with evidence of excess
liability insurance in an amount reasonably satisfactory to Lender.

                        (x)      The above insurance requirements are in addition to those contained in
any other Loan Document, and in the event of any conflict or inconsistency in the terms, conditions and
requirements of any of the Loan Documents, the term, condition or provision more favorable to Lender,
as determined by Lender, in its sole and absolution discretion, shall apply.

                 j.      Taxes. Borrower shall promptly pay all taxes, withholdings, levies and
assessments due to all local, state and federal agencies, and, if requested by the Lender, submit to the
Lender, copies of any and all federal or state or local tax returns evidencing the computation and the
payment of such taxes; provided, however, Borrower shall not be required to pay any such taxes nor shall
it be deemed to be in default hereunder for not doing so if, in good faith and by appropriate legal
proceedings, Borrower shall contest either the validity thereof or the amount claimed to be due, provided
the Borrower provides Lender with written notice of same and, if requested by Lender, shall file such
bond or provide such security as in the Lender’s reasonable discretion shall be deemed necessary or
desirable and provided that, in all events, the Borrower’s failure to pay such taxes does not have a
material adverse impact on Lender or its interests in any of the Collateral securing the Loan. Borrower
shall not enter into a tax payment plan with any local, state or federal agency without the prior written
consent of Lender.

               k.      ERISA Compliance. Borrower shall meet current funding requirements for
qualified employee benefit plans as required by law or regulations.

                 l.      Construction. No work or alteration or improvements may be constructed on
any Property without Lender’s prior written consent. To the extent Lender’s written consent is granted,
then the Borrower shall obtain all permits and approvals necessary for the construction of any
improvements on such Property which have been approved by Lender and shall cause any such
improvements to be constructed on such Property in a good and workmanlike manner, in accordance with
all plans and all governmental approvals and permits, without violation of law or ordinance and without
encroachment on any right-of-way, easement or land of any other person. The improvements shall be
completed lien free (or bonded over in accordance with applicable construction lien laws), without defect,
and in accordance with the plans submitted by Borrower to Lender, and all costs of the improvements
shall be paid for by Borrower. In addition, prior to any construction at any of the Properties:

                         (i)     The Lender shall have received and approved a budget for the
improvements and Sworn Statement (“Budget and Sworn Statement”) and detailed schedule
(“Construction Schedule”) delineating on a line item basis repairs, replacements and improvements to
such Property, costs thereof, a schedule/timeline of the work to be done and identity of contractors to the
extent known as of the date of this Agreement.

                         (ii)     The Lender shall have reviewed and approved true copies of the
construction contract with the Borrower’s contractor and a true copy of an architect’s agreement with
architect, accompanied by acknowledgements and consents to assignments from each of them in form
satisfactory to the Lender, if applicable.

                         (iii)  The Lender shall have received such other documents, instruments and
certificates as the Lender deems necessary, including without limitation, guaranteed maximum price bids
supporting the Budget and Construction Schedule (“Bids”).


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                         (iv)    No unilateral changes shall be permitted to any Budget or any
 Construction Schedule unless Lender shall have approved the same in writing, which approval may be
 granted or withheld by Lender in its sole and absolute discretion.

                          (v)     The Lender shall have received insurance required pursuant to
 subsection 4.i.(iv).

                          (vi)     To the extent any work has commenced prior to the execution date of this
 Agreement, Borrower shall supply lien waivers for all such work in form satisfactory to Lender.

                  m.     Lender’s Construction Consultant. In connection with any improvements
 made to any Property which has been reviewed and consented to by Lender, Lender shall have the right
 (but not the duty) to employ such consultants as it may deem appropriate from time to time (collectively,
 “Lender’s Construction Consultant”), to:

                         (i)       Perform such other reasonable and necessary services as Lender from
 time to time may require, all solely on behalf of Lender.

                          (ii)   The costs of Lender’s Construction Consultant shall be paid by Borrower
 to Lender upon demand by Lender. Neither Lender nor Lender’s Construction Consultant shall be
 deemed to have assumed any responsibility to, or be liable to, Borrower or any Guarantor with respect to
 any actions taken or omitted by Lender or Lender’s Construction Consultant pursuant to this Section 4.m.
 Notwithstanding the aforesaid or anything else provided in this Agreement to the contrary, Borrower shall
 not be entitled to rely on any statements or actions of Lender’s Construction Consultant and Lender’s
 Construction Consultant shall not have the power or authority to grant any consents or approvals or bind
 Lender in any manner.

                  n.      No Default Certificate. Borrower shall furnish to the Lender, within ten (10)
 days after request by the Lender, a certificate of the Borrower stating that no Event of Default has
 occurred or, if an Event of Default has occurred, stating its nature, how long it has existed and what action
 the Borrower proposes to take with respect to the Event of Default.

                 o.     Other Information. Borrower shall promptly furnish to the Lender such other
 information, documents or certificates regarding the operations, business affairs and financial condition of
 the Borrower as the Lender may reasonably request from time to time and permit the Lender, its
 employees, attorneys and agents to inspect, confirm and copy all of its books, records and properties at
 any reasonable time.

                  p.      Insurance Escrow. Borrower shall pay to the Lender, in advance, a pro rata
 portion of the annual premiums due (as estimated by the Lender from time to time) on the required
 insurance for the Property. In the event that sufficient funds have been deposited with the Lender to
 cover the amount of the insurance premiums when the premiums become due and payable, the Lender,
 upon receipt of the written request of Borrower and so long as there shall then be no Event of Default
 existing, shall pay the premiums. In the event that sufficient funds have not been deposited with the
 Lender to pay the insurance premiums at least thirty (30) days prior to the time when they become due
 and payable, the Borrower shall immediately pay the amount of the deficiency to the Lender. The
 amounts hereinabove described to be deposited with Lender on account of annual insurance premiums
 due are hereinafter referred to as the “Insurance Escrow Funds.” The Insurance Escrow Funds may be
 held by Lender in a separate account or may be co-mingled by Lender with other funds belonging to
 Lender, in Lender’s sole and absolute discretion. No interest shall be payable by Lender to Borrower on
 the Insurance Escrow Funds. The Insurance Escrow Funds shall at all times constitute additional
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 collateral security for the Loan, and from and after the occurrence of an Event of Default, Lender may
 apply the Insurance Escrow Funds to the outstanding indebtedness under the Loan (including, but not
 limited to, any fees due Lender, principal, interest or any protective advances made by Lender), in its sole
 and absolute discretion. As of the date of this Agreement, the monthly payment by Borrower on
 account of the Insurance Escrow Funds is Four Thousand and 00/100 ($4,000.00), which amount
 shall be paid to Lender on the same day as payments are due under the Note, commencing on
 November 10, 2017 and continuing on the tenth (10th) day of each and every month thereafter
 during the term of the Loan, subject however to adjustment from time to time as determined by
 Lender.

                  q.       Real Estate Tax Escrow. Borrower shall pay to the Lender, in advance, a pro
 rata portion (as determined by the Lender from time to time) of all taxes, assessments, encumbrances,
 liens, water or sewer charges and other charges and impositions (individually and collectively,
 “Imposition(s)”) levied, assessed or existing with respect to the Property, or any part of it. Borrower must
 make a written request to Lender each time a disbursement is requested to pay for Impositions and such
 request shall be in a form acceptable to Lender. In the event that sufficient funds have been deposited
 with the Lender to cover the amount of the Imposition when the Impositions become due and payable, the
 Lender, upon receipt of the written request of Borrower, together with a copy of the tax bill for each
 parcel to be paid, and so long as there shall then be no Event of Default existing, shall pay the
 Impositions. In the event that sufficient funds have not been deposited with the Lender to pay the
 Impositions at least thirty (30) days prior to the time when they become due and payable, the Borrower
 shall immediately pay the amount of the deficiency to the Lender. The amounts hereinabove described to
 be deposited with Lender on account of Impositions due are hereinafter referred to as the “Tax Escrow
 Funds.” The Tax Escrow Funds may be held by Lender in a separate account or may be co-mingled by
 Lender with other funds belonging to Lender, in Lender’s sole and absolute discretion. No interest shall
 be payable by Lender to Borrower on the Tax Escrow Funds. The Tax Escrow Funds shall at all times
 constitute additional collateral security for the Loan, and from and after the occurrence of an Event of
 Default, Lender may apply the Tax Escrow Funds to the outstanding indebtedness under the Loan
 (including, but not limited to, any fees due Lender, principal, interest or any protective advances made by
 Lender), in its sole and absolute discretion As of the date of this Agreement, the monthly payment by
 Borrower on account of the Tax Escrow Funds is Fourteen Thousand and 00/100 ($14,000.00)
 Dollars, which amount shall be paid to Lender on the same day as payments are due under the
 Note, commencing on November 10, 2017 and continuing on the tenth (10th) day of each and every
 month thereafter during the term of the Loan, subject however to adjustment from time to time as
 determined by Lender.

                  r.      Debt Service Coverage Ratio. Borrower shall maintain a Debt Service
 Coverage Ratio at all times of not less than 1.10X. For the purposes hereof, the term “Debt Service
 Coverage Ratio” shall mean: for any period of determination, the ratio of “Net Rental Income”
 (hereinafter defined) to “Debt Service” (hereinafter defined). “Debt Service” shall mean the sum of all
 interest payments under the Note payable over the period under review. “Net Rental Income” shall mean
 the gross rents received by Borrower from tenants at the Properties during the period under review, less
 (i) actual monthly operating expenses and (ii) a pro-rated portion of actual expenses not paid on a
 monthly basis. Borrower shall submit to Lender such information as is required by Lender to calculate
 the Debt Service Coverage Ratio as and when requested by Lender.

                 s.      Capital Expenditure Reserve.         Concurrent with the execution of this
 Agreement, the Borrower will direct an additional $1,446,770.00 of Borrower’s own funds into a reserve
 to be held by Lender (“Capital Expenditure Reserve”) and available to Borrower subject to the conditions
 in this Agreement for capital improvements to the Properties as described in the Budget which has been
 approved by Lender and attached hereto as Schedule 4.s. (“Capital Improvements”). The Capital
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 Expenditure Reserve may be held by Lender in a separate account or may be co-mingled by Lender with
 other funds belonging to Lender, in Lender’s sole and absolute discretion. No interest shall be payable to
 Borrower on the Capital Expenditure Reserve. All funds deposited into the Capital Expenditure Reserve
 shall at all times constitute additional collateral security for the Loan, and from and after the occurrence
 of an Event of Default, Lender may apply any and all funds in the Capital Expenditure Reserve to the
 outstanding indebtedness under the Loan (including, but not limited to, any fees due Lender, principal,
 interest or any protective advances made by Lender), in its sole and absolute discretion.
                 t.       Disbursement of Funds from the Capital Expenditure Reserve. Lender shall,
 disburse funds to Borrower out of the Capital Expenditure Reserve provided: (i) such disbursement is an
 approved capital expenditure for a Capital Improvement set forth in the Budget in Lender’s sole and
 absolute discretion; (ii) Borrower submits a request for disbursement containing such information as
 provided in subsection u. below (“Request for Disbursement”); and (iii) Borrower shall have satisfied
 each of the Capital Expenditure Reserve Conditions in subsection v. below.
                   u.      Requests for Advance from the Capital Expenditure Reserve. Each Request
 for Disbursement from the Capital Expenditure Reserve shall: (i) specify the amount of the requested
 disbursement, (ii) identify each contractor, subcontractor supplier or laborer to whom payment was made
 by Borrower and provide disbursement instructions for each such party, (iii) delineate the amounts and
 dates of previous payments to each such contractor, subcontractor, supplier or laborer as set forth on any
 and all prior Requests for Disbursement, (iv) contain a certification by Borrower that it has received no
 notice and has no knowledge of any liens or claims of lien either filed or threatened against the Properties,
 (v) certify that all amounts shown as previous payments on the Request for Disbursement have been paid
 to the parties entitled to such payment, (vi) certify approval by Borrower of all work and materials for
 which a payment was made by Borrower and for which disbursement of the Capital Expenditure Reserve
 is thereby requested, (vii) certify that all work and materials theretofore furnished for the Properties has
 been done in a good and workmanlike manner on a lien free basis, (viii) provide such additional
 information as required by Lender.
                v.      Capital Expenditure Reserve Conditions. No disbursements from the Capital
 Expenditure Reserve shall be made by Lender at any time unless:

                          (i)     All conditions precedent to that disbursement have been satisfied,
 including, without limitation, compliance with the covenants set forth in Section 4.l. and Section 4.m. and
 Section 4.u. and performance of all of the then pending obligations of Borrower under this Agreement and
 the other Loan Documents;
                        (ii)    No Event of Default has occurred under this Agreement or under any
 other Loan Document, and no event, circumstance or condition has occurred or exists which, with the
 passage of time or the giving of notice, would constitute an Event of Default under this Agreement or
 under the other Loan Documents;
                          (iii)   No litigation or proceedings are pending or threatened (including
 proceedings under Title 11 of the United States Code) against Borrower, any Guarantor or the Property,
 which litigation or proceedings, in the sole and exclusive judgment of Lender, is material;

                        (iv)     All representations and warranties made by Borrower to Lender herein
 and otherwise in connection with the Loan continue to be accurate;

                       (v)      Lender shall have reviewed and approved in its sole discretion, a notice
 of commencement or its equivalent under applicable construction lien laws, a copy of each contract for
 work to be done/materials or labor to be supplied in connection with any such request, and an initial
 sworn statement;
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                          (vi)    Waivers of lien have been delivered for all work completed to date and
 for all work for which a disbursement is requested, all in form and content acceptable to Lender;

                          (vii)    An update to Lender’s policy of title insurance shall be obtained at
 Borrower’s cost and expense, which update shall disclose no adverse conditions of title to the Properties,
 including, but not limited to, any mechanics’ or construction liens;

                         (viii) Borrower shall supply Lender and Lender’s Construction Consultant
 with such other schedules, certificates, documents and other materials as Lender or Lender’s Construction
 Consultant may request;

                           (ix)    No disbursements shall be made by Lender until such time that Lender
 has received a Budget, Sworn Statement and Request for Disbursement which evidences to Lender’s
 satisfaction that the funds then currently on deposit in the Capital Expenditure Reserve is sufficient to pay
 for any remaining improvements;

                           (x)    To the extent the funds remaining in the Capital Expenditure Reserve is
 insufficient to complete the remaining work set forth in the Budget and Sworn Statement, then Lender
 shall not be obligated to make any disbursement until Borrower deposits the deficiency; and

                           (xi) To the extent all conditions for a disbursement have been satisfied as
 determined by Lender, then the funds in the Capital Expenditure Reserve derived from Borrower’s own
 funds shall first be applied.

                 Provided that conditional waivers are submitted and accepted by the title insurer to issue
 date down pending disbursement endorsements, Lender, in its discretion, may make, or cause to be made,
 payments of any amounts pursuant to a Request for Disbursement directly to any contractor,
 subcontractor, material supplier or laborer, or jointly to Borrower and any of such parties, or to Borrower
 upon the express understanding that any such disbursements made directly to Borrower are made in trust
 by Lender and Borrower agrees to in turn disburse any such disbursements to the parties entitled thereto
 and to secure unconditional waivers of lien from such parties and provide same to Lender within fifteen
 (15) days of such funds being made available by Lender to Borrower; provided, further, in any and all
 events, if any disbursement is not made directly by Lender to the party entitled thereto, Borrower shall
 ensure that an unconditional waiver of lien from the applicable contractor, subcontractor, material
 supplier or laborer is obtained from such party as to the funds paid to such party and such unconditional
 waiver of lien is forwarded to Lender within fifteen (15) days of such funds being made available by
 lender to Borrower.

                Any funds remaining in the Capital Expenditure Reserve after completion of the Capital
 Improvements set forth in the Budget shall be held by Lender as additional collateral security for the
 Loan; provided, however, at such time as the Loan is repaid in full, any funds remaining in the Capital
 Expenditure Reserve then being held by Lender shall be released to Borrower.

                 w.       Post-Closing Covenants.

                                  (1)     Borrower shall pay for and complete a limited soil gas
                                          evaluation ordered by Lender to determine if a vapor intrusion
                                          concern exists at the Parcel 5 and if such evaluation reveals a
                                          vapor intrusion concern, then Borrower shall no later than ninety
                                          (90) days following receipt of the evaluation take all corrective
                                          action required to remedy such concern all at Borrower’s
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                                expense, subject to Lender’s written approval of such corrective
                                action. Once Lender provides written approval of the corrective
                                action proposed by Borrower, the corrective action shall be
                                diligently completed in a lien free manner in compliance with all
                                laws. Any corrective action proposed by Borrower and
                                undertaken by Borrower shall be subject to the requirements set
                                forth in section 4.l and 4.m of this Agreement. Borrower shall
                                deliver an updated Budget and Sworn Statement and any
                                contracts and Bids for Lender’s review to cover the cost of such
                                corrective action. If based on the updated Budget and Sworn
                                Statement and any contracts and Bids, Lender determines that
                                the funds currently in the Capital Expenditure Reserve are
                                insufficient to pay for the remaining Capital Improvements and
                                the corrective action required, then Lender shall require a lump
                                sum deposit from the Borrower to cover the deficiency no later
                                than ten (10) days after determination by Lender and failure to
                                comply with these requirements shall be deemed an Event of
                                Default under this Agreement.

                          (2)   No later than ninety (90) days following the execution date of
                                this Agreement, Borrower shall correct all violations of
                                applicable building and zoning codes (“Code Violations”) and
                                deliver a letter or report to the Lender from the applicable
                                governing authority which confirms that there are no longer any
                                Code Violations at the Properties. In addition to the foregoing,
                                with respect to the lis pendens filed against Parcel 4 and Parcel 5
                                in connection with the active Disclosed Matters, Borrower shall
                                furnish notices of dismissals with respect to such matters no later
                                than one hundred eighty (180) days following the execution date
                                of this Agreement. Any work proposed or undertaken by
                                Borrower to correct Code Violations must be subject to the
                                requirements set forth in sections 4.l., 4.m., 4.s., 4.t., and 4.v. To
                                the extent Lender has determined that the Budget, Sworn
                                Statement and funds in the Capital Expenditure Reserve are
                                insufficient to remedy the Code Violations in addition to the
                                other Capital Improvements originally contemplated, then no
                                later than ten (10) days thereafter, Borrower shall deliver an
                                updated Budget and Sworn Statement and any contracts and Bids
                                for Lender’s review to cover the cost of such Code Violations.
                                Based on the updated Budget and Sworn Statement and any
                                contracts and Bids, Lender shall require a lump sum deposit
                                from the Borrower to cover the deficiency in the Capital
                                Expenditure Reserve no later than ten (10) days after
                                determination by Lender and failure to comply with these
                                requirements shall be deemed an Event of Default under this
                                Agreement.

                          (3)   No later than seven (7) days following the execution date of this
                                Agreement, Borrower shall deliver updated surveys for Parcel 2
                                and Parcel 3 to Lender and Title Company and cause Title
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                                            Company to issue an updated survey endorsement as to Parcel 2
                                            and Parcel 3. To the extent the updated surveys show any new
                                            adverse condition to the condition of title for Parcel 2 and Parcel
                                            3 which are not deemed as “Permitted Encumbrances” by
                                            Lender, it shall be deemed an Event of Default under this
                                            Agreement.

        5.      NEGATIVE COVENANTS. Borrower covenants and agrees that, as long as the Loan
 remains outstanding, it shall not:

                  a.         Borrowings. Borrow money in or act as a guarantor on any loan or obligation.

                   b.       Create Liens. Mortgage, assign, hypothecate, encumber, or in any manner
 create, suffer or permit liens on its property nor permit or allow any of the Collateral to be mortgaged,
 assigned, hypothecated, encumbered or in any manner liened, except liens in favor of the Lender, and
 except for (i) liens, if any, that have been disclosed in writing by it to the Lender prior to the date of this
 Agreement and consented to by the Lender; and (ii) liens for real estate property taxes which are not yet
 due and payable.

                 c.      Transfer Assets. Sell, lease, transfer, assign or otherwise dispose of any of its
 property nor permit or allow any of the Collateral to be sold, transferred or assigned or otherwise
 disposed. Notwithstanding the foregoing, Borrower may enter into residential leases for twelve (12)
 month terms without options to purchase and without rights of first refusal as long as such leases are on
 the standard form of residential lease approved by the Lender prior to the execution of this Agreement
 and provided that the “minimum rent per month” are as follows:

                  Parcel 4                        Studio $594.00 per month        1 x 1 $720.69 per month

                  Parcel 5                        Studio $562.50 per month        1 x 1 $832.50 per month

                  Parcel 2                        Not Applicable                  1 x 1 $787.50 per month

                  Parcel 3                        Not Applicable                  1 x 1 $787.50 per month

                  Parcel 1                        Studio $522.00 per month        1 x 1 $810.00 per month

                                                                                  2 x 1 $922.50 per month

                  For purposes of this Agreement, “minimum rent per month” shall mean scheduled base
                  rents net of the following: any pro-rated or lump sum concessions and any
                  reimbursements to Borrower for pass-through expenses such as utilities and/or taxes.

                  d.       Dividends and/or Distributions. Change its capital structure or declare or make
 any distributions to its members.

                 e.     Ownership. Transfer, suffer or permit any change in ownership and/or
 management or control, except that Class B membership interests of Sole Member may be transferred as
 long as (i) Sole Member remains the sole member of Borrower and SSPH remains the sole Class A
 member of Sole Member; (ii) Sole Member of Borrower is only member with voting rights in Borrower
 and SSPH is the only member with voting rights in Sole Member; (iii) Sole Member is managed solely by
 SSPH and SSPH is owned and managed solely by Jerome H. Cohen; (iv) there is no change in
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 management of Borrower or Sole Member or SSPH. Notices of any assignments of membership interests
 in Borrower, Sole Member and SSPH must be sent to Lender within 5 days of the consummation, to the
 extent any such assignment of membership interests is permitted.

                 f.      Extension of Credit; Investment. Make loans, advances or extensions of credit
 to or make investments in any person or entity.

                g.       Subordinated Debt.         Amend or modify any document evidencing any
 subordinated debt.

         6.      EVENTS OF DEFAULT. The occurrence of any one of the following events shall
 constitute an “Event of Default” under this Agreement and, notwithstanding the terms of any note or other
 agreement given in connection herewith or otherwise, shall be an Event of Default under the terms of any
 such note or agreement:

                 a.      Failure by Borrower to pay any amount owing under the Loan when due.

                 b.      Any failure by Borrower or any Guarantor to comply with, or breach by any
 entity comprising Borrower or any Guarantor or subordinator of, any of the terms, provisions, warranties
 or covenants (affirmative or negative) of this Agreement, any of the other Loan Documents or any other
 agreement or commitment between Borrower or any Guarantor or subordinator and the Lender.

                 c.      The termination, cancellation or disclaimer of liability or enforceability of any
 guaranty or subordination agreement given in connection with the Loan.

                 d.      Institution of remedial proceedings or other exercise of rights and remedies by
 the holder of any mortgage, security interest or other lien against any of the Collateral.

                e.      The insolvency of Borrower or any Guarantor or the admission in writing of
 Borrower’s or any Guarantor’s inability to pay debts as they mature.

                 f.       Any statement, representation or information made or furnished by or on behalf
 of Borrower or any Guarantor or subordinator to the Lender in connection with or to induce the Lender to
 provide any loan, credit or other financial accommodation shall prove to be false or materially misleading
 when made or furnished.

                  g.      Institution of bankruptcy, reorganization, arrangement, insolvency or other
 similar proceedings by or against Borrower or any Guarantor; or the appointment of a receiver, custodian
 or trustee for Borrower, any Guarantor or any substantial portion of such party’s assets.

                  h.     Any loss, theft, substantial damage or destruction to the Collateral, unless insured
 as required by the Lender; or entry of any judgment against any Borrower or any Guarantor, or the
 issuance or filing of any judgment which, in the reasonable opinion of Lender, may have a material
 adverse effect upon the Collateral, Borrower or any Guarantor; or attachment, levy, garnishment or the
 commencement of any related proceeding or judicial process upon or in respect to Borrower or any
 Guarantor or the Collateral.

                 i.       Sale or other disposition by Borrower or any Guarantor of any substantial portion
 of either’s assets or property, or death, dissolution, merger, consolidation, termination of existence,
 insolvency, business failure or assignment for the benefit of creditors of Borrower or any Guarantor.

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                 j.      If there is any failure by Borrower or any Guarantor to pay when due any
 indebtedness (other than to the Lender) or in the observance or performance of any term, covenant or
 condition in any document evidencing, securing or relating to such indebtedness.

                 k.    There is a substantial change in the existing or prospective financial condition or
 worth of Borrower, any Guarantor or the Collateral, which the Lender in good faith determines to be
 materially adverse.

                    l.     The occurrence of any default beyond any applicable cure or grace period under
 any other document or instrument now or hereinafter executed by Borrower (or its principals or affiliates)
 or any Guarantor, in connection with the Loan or any other loan by Lender to Borrower (or its principals
 or affiliates) or to any Guarantor, or any loan by Lender guaranteed by any Guarantor.

                 m.      The Lender in good faith deems itself insecure.

                  n.      Any unilateral change to any Budget or Construction Schedule unless consented
 to in writing by Lender.

                  o.      Any “Event of Default” arising under any Loan Documents as such term is
 defined in that certain Loan Agreement dated December 15, 2016 between Lender and 4611-17 S Drexel
 LLC, an Illinois limited liability company (as such agreement may be further amended and/or restated
 from time to time).

         7.       ACCELERATION. Upon any Event of Default occurring, Lender may at any time
 declare the Loan immediately due and payable, in each case without presentment, demand, protest, notice
 of dishonor, notice of non-payment or other notice of any kind, all of which are waived by the Borrower.

          8.     REMEDIES.

                 a.      General. The Lender shall have the right to apply any or all of the Collateral
 held by the Lender against the amounts then due under the Loan at any time after the occurrence of an
 Event of Default. The Lender shall have all the rights and remedies provided by law or equity or by
 agreement of the parties pursuant to the Loan Documents or otherwise. The remedies of the Lender are
 cumulative and not exclusive. No delay, waiver or failure on the part of the Lender to demand strict
 adherence to the terms of this Agreement or any related document shall be deemed to constitute a course
 of conduct or waiver inconsistent with the rights herein.

                  b.      Lender May Complete. If an Event of Default occurs, the Lender (at its sole
 option) may enter upon the Property and complete any improvements being made to the Property at the
 Borrower’s expense. To the extent permitted by law, the Borrower assigns to the Lender all permits,
 licenses and authorizations for any improvements made to the Property. The Lender may charge the costs
 of completion to principal amount secured by the Collateral. If the Lender exercises its option to
 complete construction the Lender shall have the right to take any actions and enter into contracts as the
 Lender deems necessary for that purpose. The Borrower appoints the Lender to act as agent for the
 Borrower, with full, complete, and irrevocable authorization given to the Lender, as the Borrower’s duly
 constituted attorney-in-fact, to do any of the following:

                         (i)    Bind Borrower to any contract, commitment, and/or undertakings
 necessary or convenient to complete the construction.


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                        (ii)     Make changes to any plans which are necessary or desirable to complete
 the improvements in substantially the manner contemplated by the plans.

                         (iii)   Retain or employ new contractors, architects and/or inspectors to
 complete construction of the improvements.

                   c.     Application of Proceeds.       Any proceeds received by the Lender from the
 exercise of its remedies shall be applied as follows:

                           (i)      First, to pay all costs and expenses, including reasonable attorneys’ fees,
 incidental to the leasing, foreclosure, sale or other disposition of the Collateral.

                        (ii)    Second, to all sums expended by the Lender in carrying out any term,
 covenant or agreement under this Agreement or any related document.

                         (iii)   Third, to the payment of the Loan. If the proceeds are insufficient to
 fully pay the Loan, then application shall be made first to late charges and interest accrued and unpaid,
 then to any applicable prepayment premiums, other charges and expenses, and then to the outstanding
 principal balances.

                          (iv)    Fourth, any surplus remaining shall be paid to the Borrower or to any
 other lawfully entitled party.

                  d.      Protection of Lender’s Security; Mortgage Secures Future Advances.

                          (i)     If Borrower fails to perform any of its obligations under the Loan
 Agreement or any other Loan Document, or if any action or proceeding is commenced which purports to
 affect the Mortgaged Property (as defined in the Mortgage), Lender’s security or Lender’s rights under
 the Loan Documents, including eminent domain, insolvency, code enforcement, civil or criminal
 forfeiture, enforcement of Relevant Environmental Laws (as defined in the Mortgage), fraudulent
 conveyance or reorganizations or proceedings involving a bankrupt or decedent, then Lender, in Lender’s
 discretion, may make such appearances, file such documents, disburse such sums and take such actions as
 Lender deems necessary to perform such obligations of Borrower and to protect Lender’s interest,
 including, without limitation: (i) payment of attorneys’ fees and costs, (ii) payment of fees and out-of-
 pocket expenses of accountants, inspectors and consultants, (iii) entry upon the Mortgaged Property to
 make repairs or secure the Mortgaged Property, or to remedy any violations of Relevant Environmental
 Laws, (iv) procurement of the insurance required under the Loan Documents, and (v) advances made by
 Lender to pay, satisfy or discharge any obligation of Borrower.

                            (ii)     Any amounts disbursed by Lender under this Section, or under any other
 provision of this Loan Agreement that treats such disbursement as being made under this Section, will be
 secured by the Mortgage, will be added to, and become part of, the principal component of the
 indebtedness, will be immediately due and payable and will bear interest from the date of disbursement
 until paid at the default rate set forth in the Note.

                          (iii)   Nothing in this Section will require Lender to incur any expense or take
 any action.

          9.     OTHER AGREEMENTS. Borrower shall execute and deliver to the Lender such
 agreements, certificates or instruments as may be reasonably required by the Lender to evidence or secure
 or to otherwise guaranty or subordinate obligations to the Loan. All such agreements and those given in
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 connection with any other loan, present or future, shall also constitute security for the Loan, and all
 security given to the Lender securing the Loan shall also secure all other obligations of each entity
 comprising the Borrower to the Lender.

          10.     SINGLE PURPOSE ENTITY. Borrower covenants and agrees that it has not and shall
 not:

                a.      engage in any business or activity other than the acquisition, ownership,
 operation and maintenance of its portion of the Property and activities incidental thereto;

                 b.     acquire or own any material asset other than the Property and such incidental
 personal property as may be necessary for the operation of its portion of the Property;

                   c.      merge into or consolidate with any person or entity or dissolve, terminate or
 liquidate in whole or in part, transfer or otherwise dispose of all or substantially all of its assets or change
 its legal structure, without in each case Lender’s consent;

                  d.      fail to preserve its existence as an entity duly organized, validly existing and in
 good standing (if applicable) under the laws of the jurisdiction of its organization or formation, or without
 the prior written consent of Lender, amend, modify, terminate or fail to comply with the provisions of its
 organizational documents;

                  e.      own any subsidiary or make any investment in or acquire the obligations or
 securities of any other person or entity without the consent of Lender;

                  f.        commingle its assets with the assets of any of its partner(s), members,
 shareholders, affiliates, or of any other person or entity or transfer any assets to any such person or entity;

                 g.      incur any debt, secured or unsecured, direct or contingent (including
 guaranteeing any obligation), other than the Loan, except unsecured trade and operational debt incurred
 with trade creditors in the ordinary course of its business of owning and operating its portion of the
 Property in such amounts as are normal and reasonable under the circumstances, provided that such debt
 is not evidenced by a note and is paid when due;

                 h.       fail to maintain its records, books of account and bank accounts separate and
 apart from those of its members and affiliates;

                  i.      seek dissolution or winding up, in whole or in part;

                  j.      fail to correct any known misunderstandings regarding its separate identity;

                  k.      fail to file its own tax returns; or

                     l.      fail either to hold itself out to the public as a legal entity separate and distinct
 from any other entity or person or to conduct its business solely in its own name in order not (i) to
 mislead others as to the entity with which such other party is transacting business, or (ii) to suggest that it
 is responsible for the debts of any third party (including any shareholder, partner, member, principal or
 affiliate of it, or any shareholder, partner, member, principal or affiliate thereof).



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          11.     MISCELLANEOUS. The Borrower and the Lender further agree as follows:

                  a.       Governing Law; Jurisdiction; Venue. This Agreement shall be construed
 according to the laws of the State of Illinois. Borrower, Guarantors, and all persons and entities in any
 manner obligated to Lender under the Loan Documents irrevocably (i) submit to the jurisdiction of: (1)
 any state or federal court sitting in the State of Illinois or Michigan; (2) any state or federal court sitting in
 the state where any Property is located or the state in which any Borrower’s principal place of business is
 located over any suit, action or proceeding; (3) any state court sitting in the county of the state where any
 Property is located, and (ii) consents to service of process by any means authorized by the law of the state
 where the Property is located or federal law. Borrower and Guarantor irrevocably waive, to the fullest
 extent permitted by law, any objection that Borrower and Guarantor may now or hereafter have to the
 laying of venue of any such suit, action, or proceeding brought in any such court and any claim that any
 such suit, action, or proceeding brought in any such court has been brought in an inconvenient forum

                  b.      Successors and Assigns. This Agreement shall be binding upon the permitted
 successors and assigns of Borrower and the Guarantor(s), and the rights and privileges of the Lender
 under this Agreement shall inure to the benefit of its successors and assigns. Borrower shall not assign its
 rights, duties and obligations under this Agreement without the Lender’s written consent, which consent
 may be given or withheld in the Lender’s sole discretion.

                   c.       Notices. Notice from one party to another relating to this Agreement shall be
 deemed effective if made in writing and delivered to the recipient’s address: (i) hand delivery,
 (ii) registered or certified mail, postage prepaid, or (iii) express mail or other overnight courier service.
 Notice made in accordance with these provisions shall be deemed delivered on receipt if delivered by
 hand, on the third business day after mailing if mailed by registered or certified mail, or on the next
 business day after mailing or deposit with the postal service or an overnight courier service if delivered by
 express mail or overnight courier.

                  d.       Amendments. Any amendment of this Agreement shall be in writing and shall
 require the signature of the Borrower and the Lender.

                e.       Partial Invalidity. The invalidity or unenforceability of any provision of this
 Agreement shall not affect the validity or enforceability of the remaining provisions of this Agreement.

                  f.       Intentionally omitted.

                  g.       Fees and Expenses. Borrower covenants and agrees to pay or, if Borrower fails
 to pay, to reimburse, Lender upon receipt of notice from Lender for all costs and expenses (including
 actual attorneys’ fees and disbursements and where applicable, travel expenses) incurred by Lender in
 connection with: (i) the preparation, negotiation, execution and delivery of this Agreement and the other
 Loan Documents and the consummation of the transactions contemplated hereby and thereby; (ii)
 Borrower’s ongoing performance of and compliance with Borrower’s agreements and covenants
 contained in this Agreement and the other Loan Documents on its part to be performed or complied with
 after the date hereof, including, without limitation, confirming compliance with all covenants, obligations
 and agreements of Borrower under the Loan Documents, including, but not limited to, all environmental,
 insurance and any Property improvement requirements; (iii) Lender’s ongoing performance and
 compliance with all agreements and conditions contained in this Agreement and the other Loan
 Documents on its part to be performed or complied with after the date hereof; (iv) the negotiation,
 preparation, execution, delivery and administration of any consents, amendments, waivers or other
 modifications to this Agreement and the other Loan Documents and any other documents or matters
 requested by Lender; (v) Lender’s general administration of the Loan from time to time (including
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 consultations with legal counsel deemed necessary by Lender from time to time); (vi) securing
 Borrower’s compliance with any requests made pursuant to the provisions of this Agreement; (vii) the
 filing and recording fees and expenses, title insurance and other similar expenses incurred in creating and
 perfecting the security in favor of Lender pursuant to this Agreement and the other Loan Documents;
 (viii) enforcing or preserving any rights, either in response to third party claims or in prosecuting or
 defending any action or proceeding or other litigation, in each case against, under or affecting Borrower,
 this Agreement, the other Loan Documents, any Property, or any other security given for the Loan; (ix)
 enforcing any obligations of or collecting any payments due from Borrower under this Agreement, the
 other Loan Documents or with respect to any Property or in connection with any refinancing or
 restructuring of the credit arrangements provided under this Agreement in the nature of a “work out” or of
 any insolvency or bankruptcy proceedings; and (x) any site visits by Lender to review the condition of
 any Property. Any reference in this Agreement to attorneys’ fees shall mean fees, charges, costs and
 expenses of both in-house and outside counsel and paralegals, whether or not a suit or proceeding is
 instituted, and whether incurred at the trial court level, on appeal, in a bankruptcy, administrative or
 probate proceeding, in consultation with counsel, or otherwise.

            h.    WAIVER OF JURY TRIAL; DESIGNATION OF THIRD PARTY
 AGENT. BOROWER, GUARANTORS AND LENDER ACKNOWLEDGE THAT THE RIGHT
 TO TRIAL BY JURY IS A CONSTITUTIONAL ONE, BUT THAT IT MAY BE WAIVED. EACH
 PARTY, AFTER CONSULTING (OR HAVING HAD THE OPPORTUNITY TO CONSULT)
 WITH COUNSEL OF THEIR CHOICE, KNOWINGLY AND VOLUNTARILY, AND FOR
 THEIR MUTUAL BENEFIT, WAIVES ANY RIGHT TO TRIAL BY JURY IN THE EVENT OF
 LITIGATION REGARDING THE PERFORMANCE OR ENFORCEMENT OF, OR IN ANY
 WAY RELATED TO, THIS AGREEMENT, ANY OF THE LOAN DOCUMENTS, OR THE
 INDEBTEDNESS. BORROWER AND GUARANTORS DO HEREBY DESIGNATE AND
 APPOINT:

                 Iona Saluja, Esq.
                 Rock Fusco & Connelly, LLC
                 321 N. Clark Street, Suite 2200
                 Chicago, Illinois 60654


 AS EACH OF ITS AUTHORIZED AGENT TO ACCEPT AND ACKNOWLEDGE ON ITS
 BEHALF SERVICE OF ANY AND ALL PROCESS WHICH MAY BE SERVED IN ANY SUCH
 SUIT, ACTION OR PROCEEDING IN ANY FEDERAL OR STATE COURT IN ILLINOIS AND
 AGREES THAT SERVICE OF PROCESS UPON IT AT THE ADDRESS FOR IT SET FORTH
 HEREIN AND WRITTEN NOTICE OF SAID SERVICE MAILED OR DELIVERED TO IT IN
 THE MANNER PROVIDED HEREIN SHALL BE DEEMED IN EVERY RESPECT EFFECTIVE
 SERVICE OF PROCESS UPON IT IN ANY SUCH SUIT, ACTION OR PROCEEDING IN THE
 STATE OF ILLINOIS. BORROWER AND EACH GUARANTOR (I) SHALL GIVE PROMPT
 NOTICE TO LENDER OF ANY CHANGE IN THE ADDRESS OF ITS AUTHORIZED AGENT
 HEREUNDER, (II) MAY AT ANY TIME AND FROM TIME TO TIME DESIGNATE A
 SUBSTITUTE AUTHORIZED AGENT WITH AN OFFICE IN ILLINOIS (WHICH
 SUBSTITUTE AGENT AND OFFICE SHALL BE DESIGNATED AS THE PERSON AND
 ADDRESS FOR SERVICE OF PROCESS), AND (III) SHALL PROMPTLY DESIGNATE SUCH
 A SUBSTITUTE AUTHORIZED AGENT IF ITS AUTHORIZED AGENT CEASES TO HAVE
 AN OFFICE IN ILLINOIS.



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                  i.     Assignment by Lender. Anything contained in this Agreement or any other
 Loan Document to the contrary notwithstanding, Lender shall have the right to transfer its interest without
 prior notice or consent of Borrower or Guarantors to any third party, whether affiliated with Lender or
 not. Further, Lender shall have the absolute right without a prior notice to or consent of Borrower or
 Guarantors to pledge its interest in the Loan Documents to any third party as collateral security for loans
 made by any third party to Lender. In connection with any such transfer or pledge, Borrower and
 Guarantors expressly consent to the disclosure to the transferee or pledgee of any and all information
 concerning Borrower, Guarantors and any of the Collateral to such third party.

                   j.      Entire Agreement. This Agreement and the other Loan Documents embody the
 final, entire agreement among the parties hereto and to the other Loan Documents and supersede any and
 all prior applications, term sheets ( including, without limitation, the Term Sheet referenced in Section
 3.b. hereinabove), commitments, agreements, confidentiality agreements, representations, and
 understandings, whether written or oral, relating to the subject matter hereof and thereof and may not be
 contradicted or varied by evidence of prior, contemporaneous, or subsequent oral agreements of parties
 hereto and to the other Loan Documents.

                   k.       Usury Savings Clause. It is the intent of the parties hereto in the execution of
 the Note, this Agreement and all other instruments now or hereafter securing the Note or executed in
 connection therewith or under any other written or oral agreement by Borrower in favor of Lender to
 contract in strict compliance with applicable usury law. In furtherance thereof, the parties hereto stipulate
 and agree that none of the terms and provisions contained in the Note, this Agreement or any other
 instrument securing the Note or executed in connection herewith, or in any other agreement by Borrower
 in favor of Lender, shall ever be construed to create a contract to pay for the use, forbearance or detention
 of money, interest at a rate in excess of the maximum interest rate permitted to be charged by applicable
 law; that neither Borrower nor any guarantors, endorsers or other parties now or hereafter becoming liable
 for payment of the Note or the other indebtedness arising under any instrument securing the Note or
 executed in connection therewith, or in any other written or oral agreement by Borrower in favor of
 Lender, shall be liable to pay interest at a rate in excess of the maximum interest that may be lawfully
 charged under applicable law; and that the provisions of this subsection shall control over all other
 provisions of the Note, this Agreement and any instruments now or hereafter securing the Note or
 executed in connection herewith or any other agreements which may be in apparent conflict herewith. If
 at any time it is determined by a court of competent jurisdiction that interest received by Lender exceeds
 the applicable maximum lawful rate, Lender shall, at its option, either refund to Borrower the amount of
 such excess or credit the amount of such excess against the principal balance of the Note then outstanding
 and thereby shall render inapplicable any and all penalties of any kind provided by applicable law as a
 result of such excess interest. In the event that Lender shall contract for, charge or receive any amount or
 amounts and/or any other thing of value which are determined to constitute interest which would increase
 the effective interest rate on the Note to a rate in excess of that permitted to be charged by applicable law,
 an amount equal to interest in excess of the lawful rate shall, upon such determination, at the option of
 Lender, be either immediately returned to Borrower or credited against the principal balance of the Note
 then outstanding, in which event any and all penalties of any kind under applicable law as a result of such
 excess interest shall be inapplicable. All sums paid or agreed to be paid to Lender for the use,
 forbearance, or detention of the sums due under the Note, this Agreement and any instruments now or
 hereafter securing the Note or executed in connection herewith, shall, to the extent permitted by
 applicable law, be amortized, prorated, allocated, and spread throughout the full stated term of the Note
 until payment in full so that the rate or amount of interest on account of the loan evidenced by the Note
 does not exceed the maximum legal rate of interest from time to time in effect and applicable to the loan
 for so long as the loan is outstanding.


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                l.       Confidentiality. It is expressly understood that Borrower, any Guarantors, or any
 constituent owner of Borrower or any Guarantor, or any of their attorneys or agents, shall not
 communicate or divulge any of the terms or provisions of this Loan Agreement or any other Loan
 Document (collectively, “Confidential Information”) unless required pursuant to subpoena or court order.

                 m.      Non-Disparagement. The Borrower and Guarantors or any pledgors of
 Collateral agree not to engage in any activity or make any statement, except as compelled to by law
 and/or subpoena, that may in any way, directly or indirectly, disparage or reflect negatively on Lender,
 including without limitation, its affiliates, agents, attorneys, officers, directors, members, managers and/or
 management, and their products and services. This provision shall survive payment in full of the
 obligations under the Loan Documents and for a period of three (3) years thereafter.

                  n.      Errors and Omissions. In the event that any of the Loan Documents
 misrepresents or inaccurately reflects the correct terms and/or provisions of the Loan and said mistake is
 due to an error on the part of Lender or Borrower or Guarantor(s), then, in such event, the undersigned
 Borrower and/or Guarantor(s) shall, upon request by Lender and in order to correct such mistake, execute
 such new documents, or initial corrected original documents, as Lender may deem necessary, to remedy
 such errors or mistakes. The undersigned further agree to comply with such requests by the Lender within
 fifteen (15) days from the date of the mailing of the correction request(s) by the Lender, otherwise it shall
 be deemed an “Event of Default” under the Loan.


                                          (Signature Page Follows)




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                                              EXHIBIT “B”

                                         LEGAL DESCRIPTION

 Parcel 1:

 Lots 13 and 14 (except south 6 inches thereof) in Christopher Columbus Addition To Jackson Park, a
 subdivision of the East 1/2 of the Northwest 1/4 of Section 25, Township 38 North, Range 14, East of the
 Third Principal Meridian, in Cook County, Illinois.


 Parcel 2:

 The North 6.00 feet of Lot 36, and all of Lots 37, 38, 39 and 40 in Block 11 in James Stinson's
 Subdivision of East Grand Crossing in the Southwest quarter of Section 25, Township 38 North, Range
 14, East of the Third Principal Meridian, in Cook County, Illinois.


 Parcel 3:

 The North 14 feet of Lot 32 and all of Lots 33, 34, 35 and 36 (except the north 6 feet thereof) Block 11 in
 James Stinson's Subdivision of East Grand Crossing in the Southwest 1/4 of Section 25, Township 38
 North, Range 14, East of the Third Principal Meridian, in Cook County, Illinois.


 Parcel 4:

 Lot 132 in Division 2 in Westall Subdivision of 208 acres being the East 1/2 of the Southwest 1/4 and the
 Southeast fractional 1/4 of Section 30 Township 38 North Range 15, East of the Third Principal Meridian
 in Cook County, Illinois.


 Parcel 5:

 The Easterly 120 feet of Lot 114, in Division One of Westfalls Subdivision of 208 acres, being the East
 Half of the Southwest Quarter and the Southeast fractional Quarter of Section 30, Township 38 North,
 Range 15 East of the Third Principal Meridian, in Cook County, Illinois.


 Tax Numbers:
 20-25-119-001-0000 (Affects Parcel 1)
 20-25-310-008-0000 and 20-25-310-009-0000 (Affects Parcels 2 and 3)
 21-30-400-034-0000 (Affects Parcel 4)
 21-30-414-040-0000 (Affects Parcel 5)

 Commonly known as 7201 S. Constance Avenue (“Parcel 1”); 7625-7633 S. East End Ave. (“Parcel 2”);
 7635-7643 S. East End Ave. (“Parcel 3”); 7750-7752 S. Muskegon Avenue (“Parcel 4”); and 7836 S.
 Shore Drive (“Parcel 5”), all located in Chicago, Illinois 60649.


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                                         SCHEDULE 2.c.

                                     DISCLOSED MATTERS

     1) Circuit Court of Cook County, case no. 16 M1 403679 : City of Chicago as plaintiff as to
        building violations with respect to 7750-7752 S. Muskegon Avenue
     2) Circuit Court of Cook County, case no. 16 M1 400863: City of Chicago as plaintiff as to
        building violations with respect to 7836 S. Shore
     3) Circuit Court of Cook County, case no. 16 M1 400966: affected 7201 S. Constance Avenue but
        has been dismissed.




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                                  SCHEDULE 2.h.

                             LEASES AND CONTRACTS

                                       NONE




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                                   SCHEDULE 4.s.

                                     BUDGET




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